Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 1 of 13 PageID# 12773




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                               Norfolk Division

  CSX TRANSPORTATION, INC.,

                    Plaintiff,

  v.                                        Civil Action No. 2:18-cv-530-MSD-RJK

  NORFOLK SOUTHERN RAILWAY
  COMPANY, et al.,

                    Defendants.



           NORFOLK AND PORTSMOUTH BELT LINE RAILROAD COMPANY’S
               REPLY BRIEF IN SUPPORT OF ITS MOTION IN LIMINE #5
       TO EXCLUDE TESTIMONY FROM PLAINTIFF’S EXPERT HOWARD MARVEL
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 2 of 13 PageID# 12774




                                                          Table of Contents
  Introduction ..................................................................................................................................... 3

  Argument ........................................................................................................................................ 5
     I. Marvel offers opinions on railroad operations, and those opinions should be excluded
     under Rule 702 because he is not a railroad expert. ................................................................... 5

     II. Marvel’s liability opinions should be excluded under Rule 702 because they are not based
     on sufficient facts and are not the product of reliable principles and methods........................... 6
         a.     Marvel’s opinion on the Belt Line’s switching rate is inadmissible................................ 6
         b.     Marvel’s opinion on removal of the “diamond” track is inadmissible. ........................... 7
         c.     Marvel’s opinion on failure to offer a scheduling window is inadmissible..................... 8
         d.     Marvel’s opinion on drayage as an alternative to rail is inadmissible. ............................ 9

     III. Marvel’s damages opinion should be excluded under Rule 702 because he does not
     attribute damages to acts within the statute of limitations period. ............................................ 11

  Conclusion .................................................................................................................................... 13




                                                                           2
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 3 of 13 PageID# 12775




         Defendant Norfolk and Portsmouth Belt Line Railroad Company, by counsel, states as

  follows for its reply in support of its motion in limine to exclude testimony of CSXT’s proffered

  expert, Howard Marvel, Ph.D.:

                                              Introduction

         CSXT’s Opposition Brief does not overcome the flaws identified in the Belt Line’s motion.

  All counts against the Belt Line are conspiracy counts, and CSXT has yet to show conspiratorial

  conduct. Instead, it offers Marvel to posit hypotheticals as liability opinions at trial, none of which

  are supported, in hopes the jury will substitute those opinions for gaps in CSXT’s proof. It also

  expects Marvel to provide the jury a single indivisible damages figure, without any attribution to

  acts within the statute of limitations, when case law squarely contradicts that approach.

         CSXT’s threshold flaw is that Marvel’s liability opinions do not satisfy Rule 702. He either

  did not have the facts (in most cases by his own admission) or did not properly analyze them. As

  the Fourth Circuit has held, such an opinion “is no more than a hypothesis, and it thus is not

  knowledge, nor is it based upon sufficient facts or data or the product of reliable principles and

  methods applied reliably to the facts of the case.” Sardis v. Overhead Door Corp., 10 F.4th 268,

  291 (4th Cir. 2021) (quoting Nease v. Ford Motor Corp., 848 F.3d 219, 232 (4th Cir. 2017)).

         CSXT sidesteps this flaw in its brief. Its brief is written as though Marvel is solely a

  damages expert, citing hypothetical instances of antitrust conduct and opining whether, if true,

  such conduct resulted in harm to competition or damages to CSXT. In a different case, such an

  expert might rely on a liability expert to opine about the underlying conduct—one familiar with

  the field whose liability opinions are tested against the reliability requirements of Rule 702. That

  did not happen here. As Marvel’s reports make clear, he is the every-expert for CSXT: both the

  liability expert who opines that the Belt Line’s switching rate, removal of a diamond track, and



                                                    3
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 4 of 13 PageID# 12776




  NS’s operating windows are varying shades of bad, and the damages expert who relies on those

  opinions to calculate their supposed impact.

         While the Belt Line acknowledges that an economist may express economic opinions with

  proper foundation, Rule 702 does not allow Marvel to express the liability opinions identified, as

  he has not satisfied the foundational requirements to make those opinions reliable. And contrary

  to CSXT’s arguments, this foundational omission goes to admissibility, not probative value. See

  Smith v. Va. Commonwealth Univ., 84 F.3d 672, 676-77 (4th Cir. 1996).

         Yet the flaws in Marvel’s analysis do not end with liability; they extend to his damages

  analysis as well. 1 Antitrust law does not allow a damages expert to

                                  without giving the jury any inkling as to which portion is allowable

  (based on acts within the statute of limitations) and which is not.

         The law on this is well established. As the Supreme Court explained, “[T]he commission

  of a separate new overt act generally does not permit the plaintiff to recover for the injury caused

  by old overt acts outside the limitations period.” Klehr v. A.O. Smith Corp., 521 U.S. 179, 189

  (1997) (emphasis added). Thus, the Gumwood court, addressing this exact issue, excluded the

  plaintiff’s expert because, just like Marvel, his damages calculation was partly attributable to acts

  outside the limitations period. See Gumwood HP Shopping Partners v. Simon Prop. Grp., 221 F.

  Supp. 3d 1033, 1043-45 (N.D. Ind. 2016) (citing cases).

         And breaking up damages by year does not solve the problem. The reason is obvious if

  one imagines a case where 95% of the damages flow from a conspiratorial act some 20 years ago,



  1
          Perhaps the most obvious indicator that Marvel’s damages model is defective is the one
  identified by NS’s expert: when you switch out NS for CSXT and switch the terminal to VIG
  (Virginia International Gateway across the water), Marvel’s model
      despite there being no claim of anticompetitive conduct at VIG. The Belt Line adopted NS’s
  arguments in this regard and does not repeat them here.
                                                   4
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 5 of 13 PageID# 12777




  whereas 5% flow from an act within the limitations period. Marvel’s approach would allow the

  jury to award 100% of the damages, regardless of the statute of limitations. Perhaps stranger, the

  jury could award 17%, or 64%, or even 1%. Marvel’s totality-of-damages approach offers the jury

  no way to reasonably determine allowable damages, making it per se inadmissible.

                                               Argument

  I.     Marvel offers opinions on railroad operations, and those opinions should be
         excluded under Rule 702 because he is not a railroad expert.

         Marvel admitted in his deposition his complete lack of railroad industry experience. In

  response, CSXT argues that “a well-informed” expert economist may offer “economic” opinions

  about an industry even when they do not have personal experience in that industry. 2

         But Marvel does not offer only economic opinions about railroading. He opines on the

  quality of the railroad decisions—that is, the judgment of the railroad actors involved. And he

  does not couch these opinions as hypotheticals. As set forth in his report, he intends to testify that,

  in his expert opinion, “

                         ,” D.E. 466-42 at ⁋ 59 (emphasis added), and that “



                              .” Id. at ⁋ 60 (emphasis added). These are not economic opinions; they

  are operational opinions.

         To that end, Lantec is entirely applicable. In Lantec, the Tenth Circuit Court of Appeals

  affirmed a district court’s decision to strike an economist’s testimony in an antitrust case for lack

  of knowledge regarding the technical aspects of the computer science at issue, where he relied




  2
          CSXT states that Matthew Wright, NS’s expert, similarly has no prior experience in the
  railroad industry, but also testifies to railroad operations. CSXT ignores that Wright relies on the
  independent analysis of Thomas Crowley, the Belt Line’s railroad industry expert.
                                                    5
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 6 of 13 PageID# 12778




  instead on generalized “anecdotal evidence” that he turned into expert testimony. Id. 2001 U.S.

  Dist. LEXIS, at *10-11. CSXT expects Marvel to offer the same kind of testimony here.

  II.    Marvel’s liability opinions should be excluded under Rule 702 because they are not
         based on sufficient facts and are not the product of reliable principles and methods.

             a. Marvel’s opinion on the Belt Line’s switching rate is inadmissible.

         Marvel’s sole methodology for determining that the Belt Line’s tariff rate is

                                           is to compare the Belt Line’s public tariff rate, which all

  customers pay, against

                                                                    . See D.E. 466-5 at ¶¶ 54-58.

         CSXT argues that this basic comparison of nominal dollars is acceptable because antitrust

  analysis turns on the rate “actually charged,” citing Laurel Sand, and the rates Marvel used are

  “actually charged” to CSXT. But Laurel Sand’s holding is clear: a rate’s reasonableness depends

  on its “reasonableness in the context of competition,”

             f. See Laurel Sand & Gravel, Inc. v. CSX Transp., Inc., 704 F. Supp. 1309, 1323 (D.

  Md. 1989) aff’d, 924 F.2d 539 (4th Cir. 1991).                                 say nothing about the

  actual market for any other customers, much less competition within that market.

         CSXT also claims that, contrary to the Belt Line’s argument, Marvel did cite publicly

  available rates. See D.E. 487 at 31-32 (citing public tariff information for Wilmington, Savannah,

  Jacksonville, and Mobile). Yet citing is not analyzing. For the Port of Mobile, for example, the

  tariff rate is $240.10 per container, higher than the Belt Line’s rate of $210 per loaded railcar well

  (a well can hold multiple containers).




                                                    6
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 7 of 13 PageID# 12779




         Nor does Marvel account for other factors that would ensure an apples-to-apples

  comparison. He compares only the sticker price because that is all the information he was given:




  D.E. 475-4 at 89:12-21 (emphasis added). Nor does Marvel factor in scale economies with mileage

  or route impediments, notwithstanding his own testimony about the utility of those differentiating

  factors. Id. at 183:11-21.

         Marvel also does no analysis of the Belt Line’s costs, much less how they affect its switch

  rate, despite conceding that the rate should cover costs. CSXT ignores this concession, arguing

  that its proposals would have brought additional incremental revenue to the Belt Line, regardless

  of cost, if the Belt Line’s other customers just covered all the Belt Line’s fixed costs. D.E. 487 at

  34 n.9. This is an excuse for Marvel’s failure to account for costs, not a justification. This Court

  cannot order the Belt Line to operate below cost, nor can it force the Belt Line’s other customers

  (who are not parties here) to subsidize a preferential rate for CSXT.

         All these failures render Marvel’s rate analysis fundamentally defective and inadmissible

  under Rule 702. See Sardis, 10 F.4th at 291; Smith, 84 F.3d at 676-77.

             b. Marvel’s opinion on removal of the “diamond” track is inadmissible.

         When an expert fails to gather necessary information to test his theories, the expert’s

  opinion “may even be right, [but] it is no more than a hypothesis, and it thus is not knowledge, nor
                                                   7
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 8 of 13 PageID# 12780




  is it based upon sufficient facts or data or the product of reliable principles and methods applied

  reliably to the facts of the case.” Sardis, 10 F.4th at 291 (quoting Nease, 848 F.3d at 232). This

  issue goes to admissibility of the testimony, not its weight. See Smith, 84 F.3d at 676-77.

         Here, Marvel failed to gather even basic information required to understand discontinuance

  of the “diamond” track. He merely looked at a map and drew a conclusion. He knew he did not

  have complete information from CSXT, but never received additional information despite his

  request. See D.E. 475-4 at 11:20-112:19; 175:14-176:2. As a consequence, his opinion that the

  diamond track was discontinued to hinder CSXT is not admissible under Rule 702.

         In response, CSXT does not dispute Marvel’s ignorance of the facts. Rather, it argues that

  other facts exist in the record that support a conclusion that the conduct was exclusionary. See

  D.E. 487 at 35. But this does not fix the problem: Marvel did not review those facts. His opinion

  that the discontinuous is an example of anticompetitive conduct is fundamentally unsupported, and

  therefore inadmissible under Rule 702 and Fourth Circuit precedent. Sardis, 10 F.4th at 291.

             c. Marvel’s opinion on failure to offer a scheduling window is inadmissible.

         Marvel also opines in his report that NS “impedes CSX’s on-dock access to NIT through

  its control of critical scheduling and operational plans for trains moving to and from NIT.” Id. at

  ⁋ 60. While this opinion does not implicate the Belt Line directly, the Belt Line risks implication

  at trial based on the conspiracy counts.

         The reality is that Marvel’s opinion is based on a glaring absence of knowledge about the

  facts—one that the Belt Line should not be forced to expose only on cross-examination. See Smith,

  84 F.3d at 676-77. Specifically, Marvel bases his opinion on his belief that the Belt Line moved

  one, possibly three, trains to NIT for CSXT in 2015, which he views as “a pretty restricted

  performance.” D.E. 475-4 at 176:22-180:8.



                                                   8
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 9 of 13 PageID# 12781




         In fact, the Belt Line moved nine trains for CSXT in 2015. This is confirmed by CSXT’s

  own terminal manager at the time, who no longer works for the company. See MacDonald Dep.

  193:22-194:5, 215:25-216:13 (Exhibit 1 hereto). After the first move, because the trains had to

  travel over NS’s line to and from NIT, the Belt Line, CSXT, and NS established a scheduling

  window and operating plan. And opposite of CSXT’s argument, CSXT’s terminal manager

  regarded this plan as “workable,” not obstructionist:

         Q.      Did you think the operating plan, as it was developed in 2015, was a
                 workable plan in terms of moving intermodal freight to and from NIT using
                 the Belt Line?
         A.      I did.

  MacDonald Dep. 216:9-13.

         CSXT’s position that Marvel’s opinion should be permitted anyway because “NS

  repeatedly obfuscated and delayed establishing scheduling windows by citing vague, unexplained

  ‘proprietary issues’,” D.E. 487 at 37, is contrary to the testimony. It certainly is not a basis to

  overlook Marvel’s information void, as Marvel himself did not even know the number of trains,

  much less that a scheduling window was set up at all. Irrelevant views of VPA/VIT personnel

  likewise cannot save Marvel’s opinion, as he relied on none of them.

         Under the same precedent above, this opinion is inadmissible.

              d. Marvel’s opinion on drayage as an alternative to rail is inadmissible.

         The only way to conclude that drayage is not an alternative to on-dock rail access at NIT

  is to purposefully exclude data from the analysis. And that is what Marvel did. Rule 702 prevents

  an expert from presenting a purposefully incomplete analysis at trial. See Sardis, 10 F.4th at 291;

  Tyger Constr. Co. v. Pensacola Constr. Co., 29 F.3d 137, 144 (4th Cir. 1994); Eastern Auto

  Distrib., Inc. v. Peugeot Motors of Am., Inc., 795 F.2d 329, 338 (4th Cir. 1986).




                                                  9
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 10 of 13 PageID# 12782




          The reason CSXT drays containers at NIT is




                                                                                                     .

          His reason for doing so is obvious:



                        . Evidence of these relative costs is “an essential consideration of any rational

   purchaser … in making the decision to buy one product over another.” H.J., Inc. v. IT&T, 867

   F.2d 1531, 1539 n.3, 1540 (8th Cir. 1989) (holding that courts are incapable of determining the

   relevant product market without showing all variables of price competition between products).

          Under established law, an expert cannot ignore a critical data point that might conflict with

   his or her theory. See Smith v. Va. Commonwealth Univ., 84 F.3d 672, 676-77 (4th Cir. 1996)

   (reversing summary judgment where trial court relied on expert’s regression analysis that failed to

   include critical factors); see also In re Wireless Tel. Servs. Antitrust Litig., 385 F. Supp. 2d 403,

   427 (S.D.N.Y. 2005) (“Where an expert conducts a regression analysis and fails to incorporate

   major independent variables, such analysis may be excluded as irrelevant.”).

          Here, Marvel’s analysis of drayage as an alternative to on-dock rail access ignores a central

   decision-making factor for choosing drayage versus rail at NIT—                           . Rule 702

   prevents him from presenting such an incomplete analysis at trial, and therefore prevents him from

   opining that drayage is an inadequate substitute for rail at NIT. See Sardis, 10 F.4th at 291 (4th

   Cir. 2021); Tyger Constr. 29 F.3d at 144; Eastern Auto, 795 F.2d at 338.




                                                    10
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 11 of 13 PageID# 12783




   III.   Marvel’s damages opinion should be excluded under Rule 702 because he does not
          attribute damages to acts within the statute of limitations period.

          Even ignoring the flaws in Marvel’s liability opinions, his failure to identify which

   damages are attributable to acts within the statute of limitations period and which are not is fatal

   to his damages opinion, rendering it inadmissible under Rule 702. CSXT cannot overcome this

   error by ignoring the statute of limitations or simply dividing total damages by years.

          The statute of limitations prevents a party from bootstrapping unallowable damages into a

   case based on new overt acts. The Supreme Court has made this clear: “But the commission of a

   separate new overt act generally does not permit the plaintiff to recover for the injury caused by

   old overt acts outside the limitations period.” Klehr v. A. O. Smith Corp., 521 U.S. 179, 189

   (1997). The Court further held, “. . .[A]s in the antitrust cases, the plaintiff cannot use an

   independent, new predicate act as a bootstrap to recover for injuries caused by other earlier

   predicate acts that took place outside the limitations period.” Id. at 190.

          For this reason, when an opinion allows no basis on which to account for a statute of

   limitations in determining damages, it is error to submit it to the jury. See Gumwood HP Shopping

   Partners, L.P. v. Simon Prop. Grp., 221 F. Supp. 3d 1033, 1043-45 (N.D. Ind. 2016) (excluding

   expert because his damages calculation included acts outside the limitations period). “[T]he jury

   would be left entirely to speculation to determine [what damages were] triggered by acts that

   accrued before or after the limitations period began, or to assess what portion of [damages are]

   attributable to acts that caused harm within the limitations period.” Id. at 1044-45.

          CSXT’s effort to avoid this law cannot be reconciled with this Court’s prior holding. In

   CSXT’s effort to save its damages, CSXT argues that all its damages arise from the “totality” of

   the defendants’ alleged acts. See D.E. 487 at 29 (“Dr. Marvel calculates CSX’s damages as its lost

   profits based on ‘the totality of NS’s and NPBL’s [ongoing] efforts to foreclose CSX’ from on-


                                                    11
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 12 of 13 PageID# 12784




   dock rail at NIT, including conduct within the limitations period.”). Yet this Court already held

   that CSXT’s damages attributable to acts outside the limitations period are “distinct” from its

   damages arising from acts inside that period: “The damages from establishing the 2008 Uniform

   Rate do not encompass the damages sought for other alleged wrongful acts in this action. Thus,

   this is not a case where a singular wrongful act results in continuing damages.” D.E. 66 at 38-9.

   CSXT cannot, therefore, present a single indivisible damages figure to the jury.

           Notwithstanding this holding, CSXT cites Lower Lake Erie from the Third Circuit to

   salvage Marvel’s approach. See In re Lower Lake Erie Iron Ore Antitrust Litig., 998 F.2d 1144

   (3rd Cir. 1993). Put simply, CSXT misconstrues the holding of Lower Lake Erie. In that case, the

   court held that acts outside the statute of limitations period could give rise to an antitrust conspiracy

   within the limitations period, but only if some injurious act took place within the limitations period.

   Id. at 1173. The court did not hold that the plaintiff could recover damages from before the

   limitations period. See id. (upholding jury instructions that made clear that “damages must [be]

   caused within the limitations period by an active, injurious conspiracy”).

           Here, as this Court recognized, CSXT alleges anticompetitive conduct outside the statute

   of limitations window. See D.E. 66 at 38-9. Yet Marvel unquestionably offers only a single

   damages figure for all of it. And while it is true that his reports contain tables showing CSXT’s

   alleged lost profits by year, from the last quarter of 2009 to 2021, those tables cannot fix the flaw

   in his analysis. Nothing in those tables describes which damages within any particular year are

   due to which overt acts, meaning 95% of them could be due to acts outside the statute of limitations

   window. Or 10% of them. Or none of them. The jury has no way to tell, any more than anyone

   else does. Where a jury is left only to speculation or guesswork, a plaintiff’s damages expert must

   be excluded. See Gumwood, 221 F. Supp. 3d at 1043-45.



                                                      12
Case 2:18-cv-00530-MSD-RJK Document 498 Filed 11/14/22 Page 13 of 13 PageID# 12785




                                             CONCLUSION

          Because Marvel’s opinions do not survive scrutiny under Rule 702 and Daubert, the Court

   should exclude his testimony at trial and grant the Belt Line all other just relief.

            Dated: November 14, 2022                        NORFOLK AND PORTSMOUTH
                                                            BELT LINE RAILROAD COMPANY


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                                    CERTIFICATE OF SERVICE

           I certify that on November 14, 2022, I electronically filed the foregoing with the Clerk of
   the Court using the CM/ECF system, which will send a “Notice of Electronic Filing” to all counsel
   of record who have consented to electronic service.

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                                                     13
